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 5                               IN THE UNITED STATES DISTRICT COURT

 6                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 7   UNITED STATES OF AMERICA,

 8                  Plaintiff,                            No. CR. S-98-0431 KJM

 9          vs.

10   DAVID EARL WILLIAMS, et al.,                         ORDER

11                  Defendant.

12                                         /

13                  On March 5, 2012, defendant David Earl Williams filed a motion to dismiss the

14   indictment still pending against him in this case. The court requests the assistance of the Federal

15   Defender’s Office, or if appropriate a panel attorney identified by the Federal Defender, in

16   contacting defendant for the limited purpose of determining whether he qualifies for and requests

17   appointment of counsel in this matter, and whether the defendant should be brought before the

18   court for proceedings on the motion to dismiss or for other purposes.

19                  The Clerk of the Court is directed to serve a copy of this order upon the Federal

20   Defender’s Office, and also upon defendant at the address shown on the motion to dismiss (ECF

21   No. 356). The Federal Defender’s Office is requested to respond to this order within fourteen

22   (14) days.

23                  IT IS SO ORDERED.

24   DATED: March 12, 2012.

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26                                                     UNITED STATES DISTRICT JUDGE
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